                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        DOCKET NO. 3:16-cr-00074-MOC-DSC


 UNITED STATES OF AMERICA,                   )
                                             )
                                             )
 v.                                          )                     ORDER
                                             )
 JERITON LAVAR CURRY,                        )
                                             )
                Defendant.                   )




        THIS MATTER is before the court on defendant’s “Motion to Reconsider and

Motion for Extension to Submit Medical Inquiry” (#236). The Motion was addressed at a

hearing on April 24, 2017. Having considered defendant’s motion and reviewed the

pleadings, the court enters the following Order.

                                          ORDER

        IT IS, THEREFORE, ORDERED that defendant’s “Motion to Reconsider and

Motion for Extension to Submit Medical Inquiry” (#236) is GRANTED, only to the extent

that it requests additional time to submit medical information about defendant’s mental

status at the time of the Rule 11 hearing. Counsel is instructed to file, within fourteen (14)

days, an updated status report about the retention of a psychiatric expert and, if applicable,

preliminary opinions of that expert.

        IT IS FURTHER ORDERED that the sentencing hearing in this matter is

continued on the court’s own Motion to the next appropriate term to allow time for this


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               medical inquiry.


Signed: April 27, 2017




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